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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

        WHAM-O HOLDING, LTD. and
        INTERSPORT CORP. d/b/a WHAM-O,

                Plaintiffs,                                 Case No.: 1:23-cv-05527

        v.                                                  Judge Matthew F. Kennelly

        THE PARTNERSHIPS AND                                Magistrate Judge Young B. Kim
        UNINCORPORATED ASSOCIATIONS
        IDENTIFIED ON SCHEDULE “A”,

                Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on October 20, 2023 [45] in favor

of Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this

judgment and hereby fully and completely satisfy the same as to the following Defendants:

             NO.                                 DEFENDANT
             209                                yiyiwanshangmao


       THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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DATED: June _,
            6 2024                                  Respectfully submitted,



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                                                    E-mail: keith@vogtip.com

                                                   ATTORNEY FOR PLAINTIFF(S)




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Subscribed and sworn before me by Keith A. Vogt, on this _of June, 2024.

Given under by hand and notarial seal.




                                             STATE OF __      !_I_/
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                                                              (!yp K
                                             COUNTY OF --=-----------


                                                              GRISELDA DELGADO
                                                                OFFICIAL SEAL
                                                 • N.otary Public, State of Illinois
                                                             My Commission Expires
                                                                October 05, 2026
